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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


JENNIFER NEWELL,

             Plaintiff,                       Case No. 19-CV-12087

v.                                            Hon. Thomas L. Ludington
                                              Magistrate Judge Patricia T. Morris
NORTHWOOD UNIVERSITY,

             Defendant.

 The Mastromarco Firm                       Marlo J. Roebuck (P65640)
 Victor J. Mastromarco, Jr. (P34564)        Daniel C. Waslawski (P78037)
 Attorneys for Plaintiff                    Jackson Lewis P.C.
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                                            Daniel.Waslawski@jacksonlewis.com


     STIPULATION TO DISMISS PLAINTIFF’S COMPLAINT WITH
      PREJUDICE AND WITHOUT ATTORNEYS’ FEES OR COSTS

      The parties, through their respective attorneys, stipulate and agree to a

dismissal of Plaintiff’s Complaint in its entirety with prejudice and with each party

to bear her or its own attorneys’ fees and costs. The parties further stipulate and

agree that entry of this Order will resolve all pending claims and close the case.
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STIPULATED AND AGREED TO BY:



By: /s/Victor J. Mastromarco (w/consent)   By: /s/ Daniel C. Waslawski_____
THE MASTROMARCO FIRM                       JACKSON LEWIS P.C.
Victor J. Mastromarco, Jr. (P34564)        Marlo Johnson Roebuck (P65640)
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION



JENNIFER NEWELL,

              Plaintiff,                      Case No. 19-CV-12087

v.                                            Hon. Thomas L. Ludington
                                              Magistrate Judge Patricia T. Morris
NORTHWOOD UNIVERSITY,

          Defendant.
__________________________/
     ORDER DISMISSING PLAINTIFF’S COMPLAINT WITH PREJUDICE
             AND WITHOUT ATTORNEYS’ FEES OR COSTS


        Pursuant to the above stipulation,

        It is ORDERED that Plaintiff’s Complaint is dismissed with prejudice and

with each party to bear its own attorneys’ fees and costs. Entry of this order resolves

all pending claims and closes the case.

        Dated: March 26, 2020                        s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
